            Case 5:19-cr-00611-JLS Document 42 Filed 10/19/21 Page 1 of 7


                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA                              :
                                                      :
                        v.                            :        CRIMINAL ACTION
                                                      :        NO. 19-611-02
KAREN CONNELLY                                        :


                                               MEMORANDUM

SCHMEHL, J.           /s/JLS                                                     OCTOBER 18,2021


         On November 5, 2019, Defendant plead guilty to one count of bank fraud and

aiding and abetting bank fraud, in violation of 18 U.S.C. § 1344. On September 24,

2020, the Court imposed a total term of imprisonment of 48 months. Presently before

the Court is the Defendant’s counseled motion for compassionate release. For the

reasons that follow, the motion is denied.

         The government informs the Court that Defendant is serving her sentence at

Alderson Federal Prison Camp in West Virginia with an expected release date of April 8,

2024. She has served approximately ten months and has not yet earned credit for good

conduct time. She has not committed any disciplinary infractions during her time in

custody.

         In her Motion, Defendant asks the Court to grant her compassionate release

under 18 U.S.C. § 3582 (c)(1)(A)(i) and modify her sentence to home confinement

because she is concerned of contracting COVID-19 in an institutional setting. 1 Despite


1 This Court does not have authority to grant a transfer to home confinement, or review the BOP’s administrative
decision regarding that issue. See 18 U.S.C. § 3621(b) (BOP’s designation decision is not subject to judicial review).
See also, e.g., United States v. Rodriguez-Collazo, 2020 WL 2126756, at *2-3 (E.D. Pa. May 4, 2020) (Younge, J.);
United States v. Pettiway, No. CR 08-129, 2020 WL 3469043, at *2 (E.D. Pa. June 25, 2020) (Bartle, J.); United
States v. Torres, 2020 WL 3498156, at *5-6 (E.D. Pa. June 29, 2020) (Kearney, J.); United States v. Cruz, 2020 WL
1904476, at *4 (M.D. Pa. Apr. 17, 2020); United States v. Mabe, 2020 U.S. Dist. LEXIS 66269, at *1 (E.D. Tenn.
Apr. 15, 2020) (“the CARES Act places decision making authority solely within the discretion of the Attorney
                                                          1
            Case 5:19-cr-00611-JLS Document 42 Filed 10/19/21 Page 2 of 7


having received both doses of the Moderna vaccine, Defendant claims she is

particularly vulnerable to contracting COVID-19 because she is 67 years old, suffers

from stage IV kidney disease, Type II diabetes and hypertension.

Defendant claims she has been “of good behavior during her time in FPC Alderson, has

a verifiable release plan, is not being held on a violent, sex offense, or terrorism-related

charge, does not have a detainer, is a minimum security inmate, presents a low risk of

recidivism, and has not been involved in gang activity or other violent behavior while

she has been incarcerated.” ECF 37 at p. 4.



II. LEGAL STANDARD

         As a general rule, a district court may not modify a defendant's sentence after it

has been imposed. 18 U.S.C. § 3582(c); see also Dillon v. United States, 560 U.S. 817,

825, (2010). However, the First Step Act provides for a compassionate release

exception to that general rule, stating that: (A) the court, upon motion of the Director of

the Bureau of Prisons, or upon motion of the defendant after the defendant has fully

exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a

motion on the defendant's behalf or the lapse of 30 days from the receipt of such a

request by the warden of the defendant's facility 2, whichever is earlier, may reduce the

term of imprisonment (and may impose a term of probation or supervised release with

or without conditions that does not exceed the unserved portion of the original term of

imprisonment), after considering the factors set forth in section 3553(a) to the extent

that they are applicable, if it finds that— (i) extraordinary and compelling reasons

warrant such a reduction; and that such a reduction is consistent with applicable policy


General and the Director of the Bureau of Prisons. . . . This Court therefore does not have power to grant relief under
Section 12003 of the CARES Act.”).

2 There is no dispute that Defendant has exhausted her administrative rights.
                                                          2
         Case 5:19-cr-00611-JLS Document 42 Filed 10/19/21 Page 3 of 7


statements issued by the Sentencing Commission[.] 18 U.S.C. § 3582(c)(1)(A); see also

U.S.S.G. § 1B1.13 (stating that the court may reduce a term of imprisonment if it finds,

after consideration of the factors in § 3553(a), that “[e]xtraordinary and compelling

reasons warrant the reduction,” “[t]he defendant is not a danger to the safety of any

other person or to the community,” and “[t]he reduction is consistent with this policy

statement”).

       Although neither U.S.S.G. § 1B1.13 nor Congress defines the term “extraordinary

and compelling,” the Sentencing Commission's commentary to § 1B1.13, provide

guidance. See U.S.S.G. § 1B1.13 cmt. n.1. The commentary provides that

“extraordinary and compelling reasons” can include (1) certain specified serious medical

conditions (a terminal illness or a serious medical condition “that substantially

diminishes the ability of the defendant to provide self-care” in prison and “from which he

or she is not expected to recover”); (2) the defendant's advancing age (over 65), in

combination with a serious deterioration of his health and his successful completion of

at least 10 years or 75% of his sentence; (3) the defendant's family circumstances, and

(4) “[o]ther [r]easons ... [a]s determined by the Director of the Bureau of Prisons” to be

extraordinary and compelling, either alone or in combination with the three prior

reasons. U.S.S.G. § 1B1.13, cmt. n.1.

       DISCUSSION

       According to Defendant’s medical records, Defendant does not suffer from a

terminal illness. Nor does she have an incurable, progressive illness or debilitating injury

that causes her to be capable of only limited self-care or confined to a bed or chair more

than 50% of her waking hours. Her medical records show that she is fully ambulatory

and that her ailments are adequately controlled my medication administered by FCP-

Alderson. In fact, Defendant states that despite her current maladies, she is working five

                                             3
         Case 5:19-cr-00611-JLS Document 42 Filed 10/19/21 Page 4 of 7


days per week in the prison library cataloguing books, she has completed an Adult

Education Class and is enrolled in two more classes as well as in a Bible study group.

ECF 37 at p. 3.

      Even more significant is that on April 19, 2021 and May 17, 2021, the Bureau of

Prisons administered to Defendant both doses of the COVID-19 vaccine produced by

Moderna. As this Court has explained, “Now that COVID-19 vaccinations are being

administered throughout the Bureau of Prisons, compassionate release motions

generally lack merit.” United States v. Reed, 2021 WL 2681498, at *4 (E.D. Pa. June

30, 2021) (Schmehl, J.).

      Courts thus routinely deny relief to an inmate who has been vaccinated. See,

e.g., United States v. Hannigan, 2021 WL 1599707, at *5-6 (E.D. Pa. Apr. 22, 2021)

(Kenney, J.) (“Other courts in the Third Circuit have agreed that the protection provided

by an authorized COVID-19 vaccination reduces the risk of serious illness from COVID-

19 to such a degree that the threat of the pandemic alone cannot present an

extraordinary and compelling reason for compassionate release.”) (citing cases); United

States v. Roper, 2021 WL 963583, at *4 (E.D. Pa. Mar. 15, 2021) (Kearney, J.) (“The

risk posed to an inoculated Mr. Roper is not an extraordinary and compelling reason for

his release.”); United States v. Jones, 2021 WL 1561959, at *1 (E.D. Pa. Apr. 21, 2021)

(McHugh, J.) (“As the Government itself acknowledges, the scientific consensus

surrounding vaccines can change. . . . But as of now, the available data confirms the

extreme effectiveness of the vaccines.”); United States v. Willis, No. 10-416, ECF 239

(E.D. Pa. May 3, 2021) (Padova, J.); United States v. Newsuan, 2021 WL 2856509, at

*4 (E.D. Pa. July 7, 2021) (Pratter, J.) (68-year-old defendant who presents diabetes,

obesity, and hypertension does not present extraordinary circumstance in light of

vaccination); United States v. OteroMontalvo, 2021 WL 1945764, at *3 (E.D. Pa. May

                                            4
         Case 5:19-cr-00611-JLS Document 42 Filed 10/19/21 Page 5 of 7


14, 2021) (Schmehl, J.) (41-year-old defendant presents asthma and obesity, but has

been vaccinated; the court dismisses his complaints regarding prison management,

stating, “The BOP and FCI Fort Dix administering vaccinations shows that they are

taking the appropriate precautions to the COVID-19 pandemic and are safeguarding

inmates.”); United States v. Kamara, 2021 WL 2137589 (E.D. Pa. May 26, 2021)

(Bartle, J.); United States v. Peterson, 2021 WL 2156398, at *2 (E.D. Pa. May 27, 2021)

(Joyner, J.) (the defendant “suffers from hypertension, asthma, and prediabetes and he

is obese and a former smoker,” but “[g]iven the significant protection the [Johnson and

Johnson] vaccine offers and the declining rates of COVID-19 infections in prisons, we

(like many other courts) do not find that Mr. Peterson has presented extraordinary and

compelling circumstances at this time].”); United States v. McBriarty, 2021 WL 1648479,

at *6 (D. Conn. Apr. 27, 2021) (Underhill, J.) (“Given current understanding, the Pfizer

vaccine is so effective at preventing serious illness from COVID-19 that the threat of

McBriarty's becoming seriously ill is miniscule—and certainly not extraordinary and

compelling.”); United States v. Robinson, 2021 WL 1723542, at *4 (W.D. La. Apr. 30,

2021) (Doughty, J.) (given vaccination, “even though Robinson does have serious

medical conditions, there is no extraordinary and compelling reasons supporting

compassionate release.”).

        The fact that Defendant has been fully vaccinated significantly mitigates the risk

of Defendant contracting COVID-19. As a result, the significantly diminished risk of

Defendant contracting COVID-19 no longer presents an extraordinary or compelling

reason for her release.

      Defendant next cites her advancing age of 67 as an extraordinary and compelling

reason for her release. While the Sentencing Commission’s commentary does

recognize advancing age as an extraordinary and compelling reason for compassionate

                                            5
         Case 5:19-cr-00611-JLS Document 42 Filed 10/19/21 Page 6 of 7


release, it does so only in combination with a serious deterioration of health and the

inmate’s successful completion of at least 10 years or 75% of her sentence. Here,

Defendant has not demonstrated a serious deterioration of her health nor that she has

served 75% of her sentence. In fact, she has served less than 25% of her sentence.

      Defendant also cites family circumstances as an extraordinary and compelling

reason for her release. Specifically, Defendant claims that her husband of 42 years was

recently diagnosed with Stage IV Diffuse Large B Cell Lymphoma and has begun

chemotherapy treatments. Defendant claims she is the only relative available to provide

care to her husband. The Sentencing Commission’s commentary does recognize the

incapacitation of the defendant’s a spouse as an extraordinary and compelling reason

for release but only in the case where the defendant would be the only available

caregiver for the spouse. U.S.S.G. § 1B1.13, cmt. N.1. The government contends that

Defendant has a 40-year old adult daughter who lives in the same town as her father

and therefore could serve as a caregiver. Defendant does not refute this representation.

Therefore, family circumstances does not qualify as an extraordinary and compelling

reason for Defendant’s release.

      Even if Defendant could demonstrate an elevated medical risk or extraordinary

and compelling family circumstances, a review of the § 3553(a) factors, would result in

the denial of Defendant’s motion. Defendant’s offense in this matter was extremely

serious, as she committed bank fraud for an extended period of at least 13 years which

resulted in a loss to Fulton Bank of over 25 million dollars. Defendant used her position

as controller for Worley and Obetz to falsify the company’s monthly financial statements

and instructed her successor how to do the same. Without Defendant’s accounting

knowledge and contributions, the scheme may never have been successful. Because of

the extensive nature of the scheme and length of time Defendant engaged in her

                                            6
         Case 5:19-cr-00611-JLS Document 42 Filed 10/19/21 Page 7 of 7


unlawful acts, it is doubtful that Fulton Bank will ever recover these losses. While the

Defendant claims she did not intend to harm her co-workers, the fact remains that

Defendant’s actions also resulted in the bankruptcy of the Worley & Obetz family-owned

heating business and the loss of 275 jobs. As detailed in the victim impact statements,

the loss of these jobs has had a devastating emotional and financial impact on the

former employees. Defendant’s sentence also must serve as a deterrent, both to

Defendant in the future and to others who are considering engaging in bank fraud.

Finally, although Defendant provided significant cooperation to the government, that

cooperation was reflected in the Court’s 48-month sentence which was substantially

below the federal guideline range.

       The Defendant fails to demonstrate how release ten months into a 48-month

sentence for her multi-year fraud scheme reflects the seriousness of the offense,

promotes respect for the law, and provides just punishment for the offense. See 18

U.S.C. § 3553(a)(2)(A). In fact, release under these circumstances would have exactly

the opposite effect. A consideration of the factors above shows that release at this point

is inappropriate based on the offense of conviction, the Defendant’s managed medical

condition, and the amount of time remaining on the Defendant’s sentence.

       The Court is not unsympathetic to Defendant’s plight. But ramifications of health

issues for a prisoner and the inability to care for an incapacitated spouse can clearly be

avoided by not engaging in criminal activity in the first place.




                                              7
